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Richard DuVall, Esq.
Attorneys for Eric Goldfine, as Trustee                                 HEARING DATE & TIME:
of the Eric Goldfine Self-Employed Retirement Plan and Trust            June 24, 2025 at 9:30 a.m.
319 Mill Street
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P: 845-452-4000
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E: rduvall@mbwlawyers.com

 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------x
                                                                      Chapter 11
 In re: 68 Burns New Holdings, Inc.                                   Case No. 24-45157-NHL


                                     Debtor.
 -----------------------------------------------------------x

      NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY, DISMISSSAL
  OR CONVERSION PURSUANT TO 11 U.S.C. § 362(d)(2) and (d)(3), and/or 11 U.S.C. §
                               1112(b)

         PLEASE TAKE NOTICE, that upon the annexed Affirmation of RICHARD DuVALL,

ESQ., dated May 5 ,2025, the exhibits attached hereto and referenced herein and the accompanying

Memorandum of Law, Eric Goldfine as Trustee of the Eric Goldfine Self Employment Retirement

Plan and Trust will move this court on the 24th day of June, 2025 at 9:30 o’clock in the forenoon

of that, or as soon thereafter as counsel may be heard, for an Order, pursuant to 11 U.S.C. §

362(d)(2) and (d)(3) of the Bankruptcy Code, lifting the automatic stay to permit movant to

continue to conclusion of its mortgage foreclosure action pending in the Supreme Court of the

State of New York, Dutchess County and/or pursuant to 11 U.S.C. § 1112(b) dismissing this case

for cause;

         PLEASE TAKE FURTHER NOTICE, that the hearing will be held remotely via Zoom

before the Hon. Nancy Hershey Lord in her Courtroom at the United States Bankruptcy Court for

the Eastern District of New York, Conrad B. Duberstein U.S. Courthouse, 271-C Cadman Plaza

East, Suite 1595, Brooklyn, NY 11201-1800.

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         PLEASE TAKE FURTHER NOTICE that all participants must register with eCourt

Appearances in advance of all telephonic and videoconference appearances. eCourt Appearances

registration is required by both attorneys and non-attorney participants and can be accessed

through the Bankruptcy Court website at https://ecf.nyeb.uscourts.gov/cgibin/nyebAppearances.pl

         PLEASE TAKE FURTHER NOTICE that those unable to access eCourt Appearances

must email Judge Nancy Hershey-Lord’s Courtroom Deputy at nhl_hearings@nyeb.uscourts.gov

at least two (2) business days prior to the hearing. Your email must include your name, the case

number(s), who you represent (if you are an attorney),

hearing date, and phone number.

         PLEASE TAKE FURTHER NOTICE, that pursuant to Local Bankruptcy Rule 9006-1,

opposing affidavits and answering memoranda, if any, shall be served on the undersigned so

as to ensure actual receipt no later than seven (7) days before the return date.

Dated: May 5, 2025
       Poughkeepsie, New York
                                                 Eric Goldfine Self-Employed Retirement Plan
                                                 and Trust
                                                 By its Attorneys Mackey Butts & Whalen

                                                 By: __________________________________
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------x        Chapter 11
                                                                     Case No. 24-45157-NHL
 In re: 68 Burns New Holdings, Inc.


                                     Debtor.

 -----------------------------------------------------------x


     AFFIRMATION OF RICHARD DuVALL IN SUPPORT MOTION FOR RELIEF
FROM AUTOMATIC STAY, DISMISSSAL OR CONVERSION 11 U.S.C. § 362(d)(2) and
                    (d)(3), and/or 11 U.S.C. § 1112(b)


         RICHARD DuVALL, an attorney duly admitted to practice law in the Courts of the State

of New York, respectfully affirms under the penalties of perjury under the laws of New York, which

may include a fine or imprisonment, that the following is true, and I understand that this document

may be filed in an action or proceeding in a court of law:

         1.        I am a member of the law firm of Mackey Butts & Whalen, LLP, attorneys for

movant, Eric Goldfine Self-Employed Retirement Plan And Trust (“Movant”), and I make this

affirmation of my own knowledge.

         2.        I make this affirmation based upon the documents attached hereto, and referenced

herein and previously filed in this case.

         3.        Movant is a secured creditor holding a note and mortgage secured by approximately

140 acres of land, undeveloped, in the Town of Hyde Park, Dutchess County. Movant has


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prosecuted its mortgage foreclosure action in state court through the point of judgment of

foreclosure and sale. A copy of the judgment of foreclosure and sale is attached to movant's proof

of claim, filed herein as claim number 2.

         4.        This case was initially filed “pro se” by the corporate Debtor, by its

principal Gideon Raviv on December 10, 2024, two days before Movant’s scheduled foreclosure

sale.

         5.        Thereafter counsel appeared on behalf of the Debtor pursuant

to the Court's direction, at docket number 4. The first § 341 meeting, scheduled for January 17,

2025, was not held because Mr. Raviv showed up unrepresented by an attorney.

         6.        Thereafter, Julio Portilla Esq. appeared on behalf of the corporate

Debtor. See docket number 11.

         7.        At the next scheduled 341 meeting, scheduled for February 7, 2025, the 341

meeting was not conducted because the Debtor had not yet filed signed schedules. The meeting

was then adjourned to March 17, 2025.

         8.        At the 341 meeting scheduled for March 17, 2025, the Debtor, by

Mr. Raviv, declared for the first time that he needed an interpreter. The U.S. Trustee attempted to

secure, for that meeting, an interpreter despite having received no prior notice, but was unable to

do so. The 341 meeting was then adjourned to March 28, 2025.

         9.        Unfortunately, at the 341 meeting attempted on March 28, 2025, despite the

US Trustee’s efforts, the interpreter service failed to provide an interpreter to interpret English to

Hebrew and vice versa.

         10.           Finally, on April 28, 2025 at 9:00 AM the 341 meeting started, assisted by an

interpreter. Within minutes, however it became obvious that the interpreter was unnecessary, as

Mr. Raviv frequently answered the Trustee’s questions in English. The interpreter then, by


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agreement with Mr. Raviv, stood by, available to assist Mr. Raviv if needed, but she was not

needed. The meeting proceeded in English only.

         11.       This case was initially filed as a single asset case. See initial petition filing at docket

number 1.

         12.           Mr. Portilla, on or about February 25, 2025, filed amended schedules suggesting

for the first time that in addition to the real estate which secures Movant’s mortgage, the corporate

Debtor owns an unspecified interest with no known value in certain cooperative apartment(s) in

Queens. See amended schedules at document number 16. Upon information and belief, the sole

purpose for listing shares representing an interest in possible cooperative apartments was to avoid

the strictures of 11 U.S.C. § 362 (d)(3), which would require granting of this motion to lift the

automatic stay if the single asset Debtor had failed to file a plan with a reasonable chance of success

within 90 days from the filing of the petition.

         13.       Mr. Raviv testified that he believes the debtor may own the apartment in which the

superintendent of the Co-Op resides. He further testified as follows: The debtor pays no common

charges or rent. The Debtor receives no rent. The Debtor has had no income this year. The Debtor

had no income in 2024. The Debtor has no employees. The Debtor has not filed a tax return for

2024. The Debtor has not paid its 2024/25 school taxes nor its 2025 real estate taxes, due in early

2025, totalling at least $23,012.04. The Debtor has made no payments to Movant.

         14.       The Debtor did at one time own several cooperative apartments in the building

identified in the amended schedules. The loan which is the subject of Movant’s foreclosure action

was originally made in 2005, and was originally made by 334 Corp, a New York corporation, and

its co-lender Stanley Gallant. Your affirmant represented 334 Corp. and Mr. Gallant when they

instituted the instant foreclosure action in 2020. Your Affirmant also represented 334 Corp and Mr.

Gallant in three prior foreclosure actions against 68 Burns New Holdings, Inc. 334 Corp. and


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Stanley Gallant assigned the loan to Movant in August 2021. Movant was substituted as Plaintiff

in the State court foreclosure.

         15.       The judgment of foreclosure in sale attached to the proof of claim resulted from

the Debtor’s default under a forbearance agreement originally made in 2017. As part of the

Debtor’s attempt to perform its obligations under the forbearance agreement (Exhibit “1”, attached

hereto) the Debtor sold or refinanced the remaining cooperative units in Forest Hills. (See

Forbearance Agreement at par. 5 (g)) At or about that time, it was announced that Mr. Raviv's

sons, or an entity formed by or on behalf of them had purchased the cooperative units from him.

See announcement attached hereto as Exhibit “2”.

         16.       Clearly Mr. Raviv or the Debtor owned certain cooperative apartments at one time.

They were pledged as collateral. They were sold.

         17.       It defies imagination to suggest that the Debtor is unaware of its ownership interest

in one or more cooperative apartments, and it also defies imagination to suggest that the Debtor

does not know what those apartments are worth. Mr. Raviv testified at his 341 meeting that

apartments in the building are on the market for around $600,000. There is no evidence that the

Debtor owns any apartment in Queens. If it did it would have revealed same on the schedules and

it would have a sense of their value. The Debtor would be paying common charges, collecting

rent, and would be aware of the ostensible asset’s other economic attributes.

         18.       The Debtor has paid no real estate taxes on the property in Dutchess

County. The State, County and Town taxes are due in the amount of $23,012.04. See tax bills

attached hereto as Exhibit “3”.

         19.       The judgment foreclosure and sale followed a vigorously contested foreclosure

action. The referee’s computation process took almost 10 months. Counsel fees were awarded in

favor of Movant the amount of $70,000.00 as a result of Debtor’s intransigence and unreasonable


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efforts to forestall the foreclosure. See Referee’s Report on Computation and Order of the Court

confirming the Referee's Report on Computation attached hereto as Exhibits “4” and “5”.

         20.       As is set forth in the Report on Computation, the Debtor has not paid real estate

taxes since 2019.

         21.       As is set forth more fully in the accompanying Memorandum of Law, this is a single

Asset, two party case, and this case was filed and is being “prosecuted” in bad faith within the

meaning of well-established precedent.

         22.       The Debtor’s conduct thus far in this case is evidence of the further bad faith

represented by this filing and the Debtor’s disrespect for its obligations under the Bankruptcy

Code.

         23.       The Debtor’s principal’s assertion that he was in need of an interpreter is belied by

the facts. Mr. Raviv has repeatedly submitted Pro Se papers to Dutchess County Supreme Court

which he clearly prepared. See Exhibits “6”, “7”, and “8”, being his pro se filings.

         24.       Your affirmant deposed Mr. Raviv in the Dutchess County foreclosure action, and

he testified clearly and without need of an interpreter. See transcript attached hereto as Exhibit

“9”. While the content of any discussions between Mr. Raviv and Mr. Portilla would be protected

by the attorney-client privilege, it would be unusual if Mr. Portilla were not aware that Mr. Raviv

needed an interpreter, if that had been true. The transcript of Mr. Raviv’s deposition speaks for

itself, however. His testimony at the 341 meeting on April 28, unaided by an interpreter, was

accented, but was clear and easily understood. He never asked the interpreter to assist.

         25. No plan has been filed and the time to do so has expired. No payments, required by

11 USC 362 (d) (3) (B) have been made. It is evident that there is no bankruptcy purpose in this

case, as the debtor has no income, no prospects for reorganization and there is no reason to delay

the liquidation of the collateral. Debtor filed an appraisal in state court attesting to a value of $3.6


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million, and asserts that the property is worth multiples of Movant’s $833,000 claim. Movant

doubts that value, but the Debtor can sell the property and pay its debts and pay its principal a

dividend if that is true. The Debtor has retained no broker in this case, and proposes no transaction

or other means to effectuate a Plan. The automatic stay should be lifted, or the case converted or

dismissed.

         WHEREFORE, for all the above reasons and for the reasons set forth in the accompanying

Memorandum of Law, Movant requests that the automatic stay be lifted and/or that this case be

converted or dismissed

Dated: May 5, 2025
       Poughkeepsie, New York

                                                 Respectfully submitted,

                                                 Eric Goldfine Self-Employed Retirement Plan
                                                 and Trust
                                                 By its Attorneys Mackey Butts & Whalen


                                                 By: __________________________________
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